Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 1 of 24 Page ID
                                #:33614


                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                     CIVIL MINUTES—GENERAL

Case No.         CV 85-4544-DMG (AGRx)                                            Date       September 27, 2019

Title Jenny L. Flores, et al. v. William P. Barr, et al.                                          Page     1 of 24

Present: The Honorable            DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                  KANE TIEN                                                       NOT REPORTED
                  Deputy Clerk                                                     Court Reporter

    Attorneys Present for Plaintiff(s)                                  Attorneys Present for Defendant(s)
             None Present                                                         None Present

Proceedings: IN CHAMBERS - ORDER RE PLAINTIFFS’ MOTION TO ENFORCE
             SETTLEMENT [516] AND DEFENDANTS’ NOTICE OF TERMINATION
             AND MOTION IN THE ALTERNATIVE TO TERMINATE THE FLORES
             SETTLEMENT AGREEMENT [639]

                                                     I.
                                               INTRODUCTION

        On September 7, 2018, Defendants issued a notice of proposed regulations that
purportedly “parallel the relevant and substantive terms” of the Flores Settlement Agreement and
are intended to supersede and terminate the Agreement. See Apprehension, Processing, Care,
and Custody of Alien Minors and Unaccompanied Alien Children, 83 Fed. Reg. 45,486–45,534
(Sept. 7, 2018) [hereinafter “Proposed Regulations”]. The notice and comment period on the
proposed regulations closed on November 6, 2018. Id. at 45,486. On November 2, 2018,
Plaintiffs filed a Motion to Enforce the Flores Agreement [Doc. # 516], wherein Plaintiffs
request that the Court: (1) declare that the Proposed Regulations amount to an anticipatory
breach of the Agreement; (2) permanently enjoin the Department of Homeland Security (“DHS”)
and the Department of Health and Human Services (“HHS”) from implementing the Proposed
Regulations or their “material equivalent”; and (3) “if need be,” declare that implementation of
the regulations would constitute civil contempt. See Pls.’ Mot. to Enforce at 14 [Doc. # 516];1
Proposed Order at 4 [Doc. # 516-1].2

       On November 21, 2018, the Court deferred ruling on Plaintiffs’ Motion to Enforce and
vacated the hearing thereon (“Deferral Ruling”). [Doc. # 525.] The Deferral Ruling ordered
Defendants to file a notice upon issuance of the final regulations, required the parties to file
simultaneous briefing regarding the final regulations within seven days of their publication, and

         1
             All page references herein are to page numbers inserted by the CM/ECF system.
         2
          To the extent that Plaintiffs appear to have withdrawn their request for a contempt citation [Doc. # 634 at
24] and neither side has squarely addressed it in their briefing, the Court need not reach the issue of contempt.

CV-90                                     CIVIL MINUTES—GENERAL                          Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 2 of 24 Page ID
                                #:33615


                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES—GENERAL

Case No.        CV 85-4544-DMG (AGRx)                                              Date     September 27, 2019

Title Jenny L. Flores, et al. v. William P. Barr, et al.                                          Page     2 of 24

provided that the matter would thereafter be taken under submission unless the Court
rescheduled a hearing on the Motion. See id. at 2.

       On August 21, 2019, Defendants filed a Notice of Publication of Regulations. [Doc.
# 627.] On August 23, 2019, Defendants formally published the final regulations in the Federal
Register.    See Apprehension, Processing, Care, and Custody of Alien Minors and
Unaccompanied Alien Children, 84 Fed. Reg. 44,392–44,535 (Aug. 23, 2019) [hereinafter “New
Regulations”].3 Thereafter, on August 30, 2019, Defendants filed a Notice of Termination and
Motion in the Alternative to Terminate the Flores Settlement Agreement (“Motion to
Terminate”), and Plaintiffs filed a supplemental brief addressing their Motion to Enforce. [Doc.
## 639, 634.]4 Both motions are now fully briefed. [Doc. ## 668, 682.] The Court held a
hearing on both motions on September 27, 2019.

        Plaintiffs’ Motion to Enforce presents two separate but related issues: (1) whether the
New Regulations effectively terminate the Flores Agreement, and (2) if not, to what extent the
Court should enjoin Defendants from implementing the New Regulations. Defendants’ Motion
to Terminate asserts that publication of the New Regulations terminates the Agreement or, in the
alternative, presents grounds for termination.

         3
             The New Regulations are scheduled to become effective on October 22, 2019.            See 84 Fed. Reg.
at 44,392.
         4
           On November 13, 2018, the City of Chicago, the City of Los Angeles, City of New York, the City &
County of San Francisco, Los Angeles County, Santa Clara County, and the Cities of Austin, Boston, Cambridge,
Columbus, Houston, New Haven, Oakland, Philadelphia, Providence, San Jose, Seattle, and Somerville filed a brief
as amici curiae in support of Plaintiff’s Motion to Enforce. [Doc. # 522.]

         In addition, the following entities filed briefs as amici curiae in support of Plaintiffs’ Motion to Enforce,
following the publication of the New Regulations: American Academy of Child and Adolescent Psychiatry;
American Academy of Pediatrics; American Academy of Pediatrics, California; American Federation of Teachers;
American Medical Association; American Professional Society on the Abuse of Children; American Psychiatric
Association; American Psychoanalytic Association; Amnesty International, USA; California American Professional
Society on the Abuse of Children; Capital Area Immigrants’ Rights Coalition; Center for Children & Youth Justice;
Center for Law and Social Policy; Center for the Study of Social Policy; Center on Children and Families;
Children’s Advocacy Institute; Children’s Defense Fund; Children’s Law Center, Inc.; Children’s Rights; First
Focus on Children; First Star, Inc.; Florence Immigrant and Refugee Rights Project; Human Rights Watch;
Immigrant Children Advocates Relief Efforts Coalition; Juvenile Law Center; Kids in Need of Defense; Lutheran
Immigration and Refugee Service; National Association for Counsel for Children; National Association of Social
Workers; National Education Association; National Immigrant Justice Center; Northwest Immigrant Rights Project;
Save the Children Action Network, Inc.; Save the Children Federation, Inc.; Texas Pediatric Society; United States
Fund for UNICEF; Women's Refugee Commission; Young Center for Immigrant Children’s Rights; ZERO TO
THREE. [Doc. ## 655, 659, 662, 665.]

CV-90                                    CIVIL MINUTES—GENERAL                            Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 3 of 24 Page ID
                                #:33616


                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES—GENERAL

Case No.       CV 85-4544-DMG (AGRx)                                              Date     September 27, 2019

Title Jenny L. Flores, et al. v. William P. Barr, et al.                                          Page     3 of 24

        Having duly considered the parties’ written submissions, oral argument, as well as the
amici briefs, the Court concludes that the New Regulations do not have the effect of terminating
the Flores Agreement, Defendants have not met their burden to demonstrate an alternative
reason to terminate the Agreement, and Defendants must be enjoined from implementing the
New Regulations. Accordingly, Plaintiffs’ Motion to Enforce is GRANTED insofar as it seeks
such relief, and Defendants’ Motion to Terminate is DENIED.

                                                   II.
                                               BACKGROUND

        On January 28, 1997, this Court approved the Flores Agreement. See Flores v. Sessions,
862 F.3d 863, 866 (9th Cir. 2017). Paragraph 9 of the Flores Agreement provides in pertinent
part that, “[w]ithin 120 days of the final district court approval of this Agreement, the INS shall
initiate action to publish the relevant and substantive terms of this Agreement as a Service
regulation. The final regulations shall not be inconsistent with the terms of this Agreement.”5
See Flores Agreement at ¶ 9 (emphasis added) [Doc. # 101].

         Paragraph 40 of the Agreement initially provided: “All terms of this Agreement shall
terminate the earlier of five years after the date of final court approval of this Agreement or three
years after the court determines that the INS is in substantial compliance with this Agreement,
except that the INS shall continue to house the general population of minors in INS custody in
facilities that are licensed for the care of dependent minors.” Id. at ¶ 40. On December 7, 2001,
the parties stipulated to modify Paragraph 40 such that it now reads: “All terms of this
Agreement shall terminate 45 days following defendants’ publication of final regulations
implementing this Agreement[.] Notwithstanding the foregoing, the INS shall continue to house
the general population of minors in INS custody in facilities that are state-licensed for the care of
dependent minors.”6 See Pl.’s Ex. 2 at 70–73 (Dec. 7, 2001 Stipulation) (alterations omitted)
[Doc. # 101].



        5
           The Flores Agreement binds the named Defendants and their “agents, employees, contractors and/or
successors in office.” See Flores Agreement at ¶ 1 [Doc. # 101].
         6
           Defendants concede that the December 7, 2001 Stipulation had the effect of properly amending
Paragraph 40 of the Flores Agreement. See 84 Fed. Reg. at 44,392 (“The [Flores Agreement], as modified in 2001,
provides that it will terminate forty-five days after publication of final regulations implementing the agreement.”);
see also Flores v. Sessions, 862 F.3d at 869 (“[P]ursuant to the 2001 agreement, the Settlement continues to govern
those agencies that now carry out the functions of the former INS.”).


CV-90                                    CIVIL MINUTES—GENERAL                           Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 4 of 24 Page ID
                                #:33617


                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                              CIVIL MINUTES—GENERAL

Case No.    CV 85-4544-DMG (AGRx)                                    Date     September 27, 2019

Title Jenny L. Flores, et al. v. William P. Barr, et al.                            Page     4 of 24

                                             III.
                                         DISCUSSION

        The Court considers first Plaintiffs’ Motion to Enforce and Defendants’ response that the
New Regulations terminate the Flores Agreement by its own terms, then turns to Defendants’
alternative Motion to Terminate.

A.      Plaintiffs’ Motion to Enforce

        In the preamble to the New Regulations, DHS and HHS identify what they consider to be
the “key” elements of the new regulatory scheme: (1) the elimination of the Flores Agreement’s
requirement that a class member (even one in removal proceedings) be released if a custodian is
available and detention is not required to secure timely appearance or to ensure any person’s
safety; (2) the adoption of a new definition of “licensed facility” that allows U.S. Immigration
and Customs Enforcement (“ICE”) to detain families in facilities not licensed by a state; and (3)
ensuring that “[m]inors who are in expedited removal proceedings are not entitled to bond
hearings.” See 84 Fed. Reg. at 44,393–95.

       Plaintiffs assert that each of these three “key” regulatory changes, in addition to changes
to the definition of a “secure facility” and the omission of mandatory language binding
Defendants’ actions, is invalid as inconsistent with the Flores Agreement.

        “[A] motion to enforce [a] settlement agreement essentially is an action to specifically
enforce a contract.” Adams v. Johns-Manville Corp., 876 F.2d 702, 709 (9th Cir. 1989). As
described numerous times in this litigation, the Flores Settlement is a consent decree. See, e.g.,
Flores v. Sessions, 862 F.3d 863, 874 (9th Cir. 2017); Order re Pls.’ Mot. to Enforce at 3 [Doc.
# 177]; Order re Pls.’ Mot. to Enforce & Appoint a Special Monitor at 2–4 [Doc. # 363].
Because consent decrees have ‘many of the attributes of ordinary contracts [and] . . . should be
construed basically as contracts,’ the doctrine of substantial compliance, or substantial
performance, may be employed.” Jeff D. v. Otter, 643 F.3d 278, 283–84 (9th Cir. 2011) (internal
citation omitted). Substantial compliance “does imply something less than a strict and literal
compliance with the contract provisions but fundamentally it means that the deviation is
unintentional and so minor or trivial as not ‘substantially to defeat the object which the parties
intend to accomplish.’” Wells Benz, Inc. v. United States, 333 F.2d 89, 92 (9th Cir. 1964)
(citation omitted). The Court will therefore apply the preponderance of the evidence standard to
the issue of whether Plaintiffs have demonstrated that Defendants have failed to substantially
comply with certain provisions of the Agreement. See Order re Pls.’ Mot. to Enforce & Appoint
a Special Monitor at 4.

CV-90                             CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 5 of 24 Page ID
                                #:33618


                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—GENERAL

Case No.      CV 85-4544-DMG (AGRx)                                             Date     September 27, 2019

Title Jenny L. Flores, et al. v. William P. Barr, et al.                                       Page     5 of 24

        Plaintiffs contend that the New Regulations violate Paragraphs 9 and 40 (as modified by
the parties’ stipulation) and are inconsistent with the Flores Agreement because: (1) the DHS’s
New Regulations abrogate minors’ protections against unnecessary prolonged detention and
substandard placement, (2) the HHS’s New Regulations expand the grounds for unlicensed
placement and eliminate neutral and detached review of grounds to detain children on account of
dangerousness and flight risk, and (3) the New Regulations replace the Flores Agreement’s
mandatory protections with aspirational statements of “dubious” enforceability. See Pls.’ Mot. to
Enforce at 14 [Doc. # 516]; Pls.’ Supplemental Mem. at 8–10 [Doc. # 634].7 Defendants argue
that the New Regulations were promulgated according to the Administrative Procedure Act
(“APA”) and implement the “basic purpose” of the Agreement. Defs.’ Mot. to Terminate at 13–
14 [Doc. # 639].       According to Defendants, the New Regulations therefore terminate the
Agreement, and their validity must be assessed under APA standards. Id.

        For the reasons discussed below, Plaintiffs are correct as a matter of law.

                 1.       DHS’s New Regulations Regarding Length of Detention and
                          Placement

     Paragraphs 14 and 18 of the Flores Agreement mandate the expeditious release of class
members from Defendants’ custody. Paragraph 14 provides:

        Where the INS determines that the detention of the minor is not required either to
        secure his or her timely appearance before the INS or the immigration court, or to
        ensure the minor’s safety or that of others, the INS shall release a minor from its
        custody without unnecessary delay in the following order of preference, to:

                 A.       a parent;
                 B.       a legal guardian;
                 C.       an adult relative (brother, sister, aunt, uncle, or grandparent);
                 D.       an adult individual or entity designated by the parent or legal
                          guardian as capable and willing to care for the minor’s well-being
                          in (i) a declaration signed under penalty of perjury before an
                          immigration or consular officer or (ii) such other document(s) that
                          establish(es) to the satisfaction of the INS, in its discretion, the
                          affiant’s paternity or guardianship;

        7
         Additionally, although Plaintiffs argue that “all monitoring and transparency authorized by the
[Agreement] would terminate” once the regulations go into effect, neither their Motion to Enforce nor Supplemental
Memorandum further expounds on that point. Pls.’ Mot. to Enforce at 14.

CV-90                                   CIVIL MINUTES—GENERAL                          Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 6 of 24 Page ID
                                #:33619


                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES—GENERAL

Case No.       CV 85-4544-DMG (AGRx)                                               Date     September 27, 2019

Title Jenny L. Flores, et al. v. William P. Barr, et al.                                          Page     6 of 24

                  E.       a licensed program willing to accept legal custody; or
                  F.       an adult individual or entity seeking custody, in the discretion of
                           the INS, when it appears that there is no other likely alternative to
                           long term detention and family reunification does not appear to be
                           a reasonable possibility.

Flores Agreement at ¶ 14 (emphasis added) [Doc. # 101].

         Likewise, Paragraph 18 provides:

         Upon taking a minor into custody, the INS, or the licensed program in which the
         minor is placed, shall make and record the prompt and continuous efforts on its
         part toward family reunification and the release of the minor pursuant to
         Paragraph 14 above. Such efforts at family reunification shall continue so long as
         the minor is in INS custody.

Id. at ¶ 18 (emphasis added).

        Yet, DHS’s New Regulations would allow the agency to detain class members
indefinitely,8 regardless of whether such detention is necessary to secure their timely appearance
before the agency or the immigration court, or to ensure the minors’ safety. Revised 8 C.F.R.
section 212.5(b)(3)(i)–(ii)9 would permit DHS officials to release class members who “present

         8
            Defendants argue that class members will be detained only until their immigration processing has
terminated, not “indefinitely.” Defs.’ Mot. to Terminate at 42. Though the class members may not be detained
permanently, class members in DHS custody who do not satisfy the narrow release provision in revised 8 C.F.R.
section 212.5(b)(3)(i)–(ii) will be held without a scheduled or otherwise guaranteed release date. See Indefinitely,
Black’s Law Dictionary (11th ed. 2019) (“[Defined as:] For a length of time with no definite end . . . . Without
giving clear or exact details”). Perforce, class members would be subject to indefinite detention under the New
Regulations. While reasonable minds may differ as to whether a constitutional violation occurs when minors are
subject to indefinite detention (see Reno v. Flores, 507 U.S. 292, 315 (1993)), that is not the issue here. Any debate
as to whether indefinite detention of minors is a wise or permissible policy has been foreclosed in this case because
the clear and unambiguous terms of the Flores Agreement eschew indefinite detention except in limited
circumstances.
         9
           References to the “revised” C.F.R.s are to the New Regulations that displace preexisting regulations
codified in the Code of Federal Regulations (C.F.R.). References to “newly published” C.F.R.s are to New
Regulations that do not displace any specific preexisting regulations. Because the New Regulations are not
scheduled to become effective until October 22, 2019, the Court also cites to the Federal Register for its discussion
of the New Regulations. Citations to the C.F.R. without a qualifier are to the regulations in place before the
publication of the Final Regulations on August 23, 2019.

CV-90                                    CIVIL MINUTES—GENERAL                            Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 7 of 24 Page ID
                                #:33620


                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

Case No.     CV 85-4544-DMG (AGRx)                                      Date     September 27, 2019

Title Jenny L. Flores, et al. v. William P. Barr, et al.                               Page     7 of 24

neither a security risk nor a risk of absconding” only to “a parent, legal guardian, or adult relative
(brother, sister, aunt, uncle, or grandparent) not in detention” or “with an accompanying parent
or legal guardian who is in detention.” See 84 Fed. Reg. at 44,525. Under this regulation, DHS
disregards several categories of potential custodians as it need not consider releasing class
members to a non-relative designee of the class member’s parent or legal guardian, a licensed
program willing to accept legal custody, or “an individual or entity seeking custody, in the
discretion of [Defendants], when it appears that there is no other likely alternative to longer term
detention and family reunification does not appear to be a reasonable possibility.” Flores
Agreement at ¶¶ 14.D–F. These omissions from the regulation are unsurprising, as DHS
candidly admits that its New Regulations are intended to allow the agency to “detain the family
unit together as a family by placing them at an appropriate [Family Residential Center (‘FRC’)]
during their immigration proceedings.” 84 Fed. Reg. at 44,403; see also id. (“It is important that
family detention be a viable option . . . due to the significant and ongoing surge of adults who
have made the choice to enter the United States illegally with juveniles or make the dangerous
overland journey to the border with juveniles . . . .”). DHS achieves that objective so long as it
ensures that none of the potential custodians under section 212.5(b)(3)(i)–(ii) are released.

        In addition, revised 8 C.F.R. section 236.3(j)(2) applies the same stringent standard for
parole for immigrants in expedited removal proceedings both to adults and to class members.
See 84 Fed. Reg. at 44,393. The revised section 236.(j)(2) provides that “if a minor who is not
a[n unaccompanied minor (‘UAC’)] is in expedited removal proceedings . . . , custody is
governed by § 235.3(b)(2)(iii) or (b)(4)(ii) of this chapter, as applicable.” Id. at 44,529. Under
the current sections 235.3(b)(2)(iii) and (b)(4)(ii), which remain unaltered under the Final
Regulations, parole for those in expedited removal proceedings or pending a credible fear
determination is solely at the discretion of the Attorney General when “required to meet a
medical emergency or . . . necessary for a legitimate law enforcement objective.” 8 C.F.R.
§§ 235.3(b)(2)(ii), (b)(4)(ii). Defendants, however, admit that Paragraph 14 of the Agreement
“has been interpreted to require application of the juvenile parole regulation to release during
expedited removal proceedings.” 84 Fed. Reg. 44,405 n.13 (citing Order re Pls.’ Mot. to Enforce
and Appoint a Special Monitor at 23–27 [Doc. # 363]). Yet, the New Regulations—contrary to
the Flores Agreement—double down on their intention “to permit detention in FRCs in lieu of
release (except where parole is appropriate under 8 CFR [§§] 235.3(b)(2)(iii) or (b)(4)(ii)) in
order to avoid the need to separate or release families in these circumstances.” In other words,
under the New Regulations, Defendants can detain minors indefinitely in FRCs unless there is a
medical emergency or law enforcement necessity. Id. (emphasis added). DHS “agrees that this
rule may result in longer detention of some minors,” id. at 44,499, and cannot even “reliably
predict the increased average length of stay for affected minors,” id. at 44,517. Thus, this
regulation is inconsistent with one of the primary goals of the Flores Agreement, which is to

CV-90                               CIVIL MINUTES—GENERAL                      Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 8 of 24 Page ID
                                #:33621


                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

Case No.      CV 85-4544-DMG (AGRx)                                    Date     September 27, 2019

Title Jenny L. Flores, et al. v. William P. Barr, et al.                              Page     8 of 24

instate a general policy favoring release and expeditiously place minors “in the least restrictive
setting appropriate to the minor’s age and special needs.” Flores Agreement at ¶¶ 11, 12, 14.

       Furthermore, as a general rule, Paragraph 19 of the Flores Agreement provides that when
Defendants retain custody of a class member, “such minor shall be placed temporarily in a
licensed program until such time as release can be effected in accordance with Paragraph 14
above or until the minor’s immigration proceedings are concluded, whichever occurs earlier.”
Flores Agreement at ¶ 19. Paragraph 6 in turn provides a definition for “licensed program”:

        The term “licensed program” shall refer to any program, agency or organization
        that is licensed by an appropriate State agency to provide residential, group, or
        foster care services for dependent children, including a program operating group
        homes, foster homes, or facilities for special needs minors. A licensed program
        must also meet those standards for licensed programs set forth in Exhibit 1 [to the
        Agreement]. All homes and facilities operated by licensed programs, including
        facilities for special needs minors, shall be non-secure as required under state law;
        provided, however, that a facility for special needs minors may maintain that level
        of security permitted under state law which is necessary for the protection of a
        minor or others in appropriate circumstances, e.g., in cases in which a minor has
        drug or alcohol problems or is mentally ill. The INS shall make reasonable
        efforts to provide licensed placements in those geographical areas where the
        majority of minors are apprehended, such as southern California, southeast Texas,
        southern Florida and the northeast corridor.

Id. at ¶ 6.

        Conversely, revised 8 C.F.R. section 236.3(b)(9) provides:

        Licensed facility means an [Immigration and Customs Enforcement (“ICE”)]
        detention facility licensed by the state, county, or municipality in which it is
        located, if such a licensing process exists. Licensed facilities shall comply with
        all applicable state child welfare laws and regulations and all state and local
        building, fire, health, and safety codes. If a licensing process for the detention of
        minors accompanied by a parent or legal guardian is not available in the state,
        county, or municipality in which an ICE detention facility is located, DHS shall
        employ an entity outside of DHS that has relevant audit experience to ensure
        compliance with the family residential standards established by ICE. Such audits


CV-90                              CIVIL MINUTES—GENERAL                      Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 9 of 24 Page ID
                                #:33622


                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES—GENERAL

Case No.       CV 85-4544-DMG (AGRx)                                                Date     September 27, 2019

Title Jenny L. Flores, et al. v. William P. Barr, et al.                                            Page     9 of 24

         will take place at the opening of a facility and on a regular, ongoing basis
         thereafter. DHS will make the results of these audits publicly available.

84 Fed. Reg. at 44,526.10

        Though Texas and Pennsylvania currently provide state licensing for family residential
centers, DHS concedes that “most States do not offer a licensing program for family unit
detention . . . .” See 84 Fed. Reg. at 44394; see also Order Denying Defs.’ Ex Parte Appl. for
Limited Relief at 6 (“Defendants have known for years that there is ‘no state licensing readily
available for facilities that house both adults and children.’” (quoting Defs.’ Mot. to Amend at 32
[Doc. # 120])) [Doc. # 455]. Therefore, this new regulatory definition of “licensed facility”
would effectively authorize DHS to place class members in ICE detention facilities that are not
monitored by state authorities, but are instead audited by entities handpicked by DHS to “ensure
compliance with the family residential standards established by ICE.” See 84 Fed. Reg. at
44,526 (emphasis added). This is more than a minor or formalistic deviation from the provisions
of the Flores Agreement, as “[t]he purpose of the licensing provision is to provide class members
the essential protection of regular and comprehensive oversight by an independent child welfare
agency.” See Order re Pls.’ Mot to Enforce at 14 (emphasis added) [Doc. # 177]. Thus, revised
8 C.F.R. section 236.3(b)(9) is patently inconsistent with a substantive term of the Agreement.

        In fact, DHS would be prohibited from implementing revised Section 236.3(b)(9) even if
Defendants had otherwise complied with their obligation to issue final regulations not
inconsistent with the Flores Agreement. The Agreement provides that even after its termination,
Defendants are obligated to house class members in state-licensed facilities. See Flores
Agreement at ¶ 9 [Doc. # 101]; id. at ¶ 40 (“All terms of this Agreement shall terminate the
earlier of five years after the date of final court approval of this Agreement or three years after
the court determines that the INS is in substantial compliance with this Agreement, except that
the INS shall continue to house the general population of minors in INS custody in facilities that
are licensed for the care of dependent minors.”); Dec. 7, 2001 Stipulation at 71 (“All terms of
this Agreement shall terminate 45 days following defendants’ publication of final regulations
implementing this Agreement[.] Notwithstanding the foregoing, the INS shall continue to house
the general population of minors in INS custody in facilities that are state-licensed for the care of
dependent minors.” (emphasis omitted)) [Doc. # 516].



         10
            Revised 8 C.F.R. section 236.3(e) provides that, as a general rule, class members held in DHS custody
will be transferred “to a licensed facility as defined in paragraph (b)(9) of this section, which is non-secure . . . .”
See 84 Fed. Reg. at 44,526.

CV-90                                     CIVIL MINUTES—GENERAL                            Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 10 of 24 Page ID
                                #:33623


                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

 Case No.     CV 85-4544-DMG (AGRx)                                     Date     September 27, 2019

 Title Jenny L. Flores, et al. v. William P. Barr, et al.                              Page     10 of 24

        DHS’s new definition of “non-secure facility” is also inconsistent with the Flores
 Agreement. Although the Flores Agreement does not explicitly define that term, the Court
 previously explained that “‘[s]ecure’ in this context refers to a detention facility where
 individuals are held in custody and are not free to leave[,]” whereas “‘non-secure’ facilities are
 those where individuals are not held in custody.” See Order re Pls.’ Mot. to Enforce at 2 n.3
 [Doc. # 177]. The Court has also found that the Karnes FRC is a secure facility principally
 because it is a large block building that has only one means of ingress and egress, which includes
 a sally port in which all persons exiting and entering the building are subject to security
 screening by ICE officials. See id. at 15.

         Revised 8 C.F.R. section 236.3(b)(11) defines “non-secure facility” as:

         [A] facility that meets the definition of non-secure under state law in the state in
         which the facility is located. If no such definition of non-secure exists under state
         law, a DHS facility shall be deemed non-secure if egress from a portion of the
         facility’s building is not prohibited through internal locks within the building or
         exterior locks and egress from the facility’s premises is not prohibited through
         secure fencing around the perimeter of the building.

 See 84 Fed. Reg. at 44,526.

          This new regulatory definition’s supposed carve-out for state law definitions of “non-
 secure” is vacuous, as DHS admits that this provision is intended to allow ICE to place class
 members in its various FRCs, including Karnes, notwithstanding the fact that the Court has
 already held that Karnes is a secure facility. In Kafkaesque fashion, the New Regulations
 declare that FRCs are non-secure (and always have been), regardless of whether they are or ever
 have been, in fact, non-secure. See 84 Fed. Reg. at 44,443 (“DHS maintains that its FRCs have
 been and continue to be nonsecure . . . .”). The remainder of the new definition of a so-called
 “non-secure facility” is contrary to the interpretation that this Court has already given it—
 facilities in which “individuals are not held in custody.” See Order re Pls.’ Mot. to Enforce at 2
 n.3 [Doc. # 177]. Specifically, revised 8 C.F.R. section 236.3(b)(11) allows an ICE facility to
 fall within the scope of the term “non-secure” so long as a building’s locking mechanism and the
 premises’ fencing are not responsible for holding class members in ICE custody against their
 will. See 84 Fed. Reg. at 44,526. No part of this regulatory provision bars ICE officials from
 arresting class members who attempt to leave ICE facilities. See, e.g., Report of ICE
 Coordinator Deane Dougherty at 9–10 (“Insofar as class members remain in ICE’s legal custody,
 there will be consequences, for example re-arrest, against those residents who leave the
 residential center without permission.”) [Doc. # 402-2]. Another interpretation of this definition

 CV-90                              CIVIL MINUTES—GENERAL                      Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 11 of 24 Page ID
                                #:33624


                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES—GENERAL

 Case No.       CV 85-4544-DMG (AGRx)                                              Date     September 27, 2019

 Title Jenny L. Flores, et al. v. William P. Barr, et al.                                          Page     11 of 24

 of “non-secure” is that Defendants could entirely prohibit egress from a facility’s detention area
 through internal locks so long as one part—a reception area, for example—is unlocked. Brief for
 the American Academy of Child and Adolescent Psychiatry, et al., as Amici Curiae Supporting
 Plaintiffs at 5 (citing 84 Fed. Reg. at 44,526) [Doc. # 665].

        In sum, DHS’s New Regulations on the parole of class members, the definition of
 licensed facilities, and the definition of non-secure are irreconcilable with Paragraphs 6, 14, 18,
 and 19 of the Flores Agreement, and cannot be reasonably characterized as regulations
 “implementing this Agreement.” Dec. 7, 2001 Stipulation at 71 [Doc. # 516].

                  2.       HHS’s New Regulations on Placement and Review of Grounds for
                           Detention

         HHS’s New Regulations concerning placement of minors are not consistent with the
 Flores Agreement. Paragraph 11 of the Flores Agreement states in pertinent part: “The INS
 shall place each detained minor in the least restrictive setting appropriate to the minor’s age and
 special needs, provided that such setting is consistent with its interests to ensure the minor’s
 timely appearance before the INS and the immigration courts and to protect the minor’s age and
 special needs.” Flores Agreement at ¶ 11 [Doc. # 101]. Furthermore, Paragraph 19 provides in
 relevant part: “Except as provided in Paragraphs 12[11] or 21, such minor [who is not released
 pursuant to Paragraph 14] shall be placed temporarily in a licensed program until such time as
 release can be effected in accordance with Paragraph 14 above or until the minor’s immigration
 proceedings are concluded, whichever occurs earlier.” See id. at ¶ 19.

        In turn, Paragraph 21 of the Agreement provides that a class member may be placed in a
 “secure” facility if any one of the following five criteria are met:

         A.       [The class member] has been charged with, is chargeable, or has been
                  convicted of a crime, or is the subject of delinquency proceedings, has
                  been adjudicated delinquent, or is chargeable with a delinquent act;
                  provided, however that this provision shall not apply to any minor whose
                  offense(s) fall(s) within either of the following categories:


           11
              Subject to certain exceptions (e.g., “an emergency or influx of minors into the United States”),
 Paragraph 12.A generally requires a minor to be placed in a licensed program within three days if the minor was
 apprehended in an INS district in which a licensed program is located and has space available or within five days “in
 all other cases.” See Flores Agreement at ¶ 12.A [Doc. # 101].


 CV-90                                    CIVIL MINUTES—GENERAL                           Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 12 of 24 Page ID
                                #:33625


                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                      CIVIL MINUTES—GENERAL

 Case No.       CV 85-4544-DMG (AGRx)                                              Date     September 27, 2019

 Title Jenny L. Flores, et al. v. William P. Barr, et al.                                          Page     12 of 24

                              i.    Isolated offenses that (1) were not within a pattern or
                                    practice of criminal activity and (2) did not involve
                                    violence against a person or the use or carrying of a
                                    weapon (Examples: breaking and entering, vandalism,
                                    DUI, etc. This list is not exhaustive.);
                              ii. Petty offenses, which are not considered grounds for
                                    stricter means of detention in any case (Examples:
                                    shoplifting, joy riding, disturbing the peace, etc. This list is
                                    not exhaustive.);
                    As used in this paragraph, “chargeable” means that the INS has probable
                    cause to believe that the individual has committed a specified offense;
         B.         [The class member] has committed, or has made credible threats to
                    commit, a violent or malicious act (whether directed at himself or others)
                    while in INS legal custody or while in the presence of an INS officer;
         C.         [The class member] has engaged, while in a licensed program, in conduct
                    that has proven to be unacceptably disruptive of the normal functioning of
                    the licensed program in which he or she has been placed and removal is
                    necessary to ensure the welfare of the minor or others, as determined by
                    the staff of the licensed program (Examples: drug or alcohol abuse,
                    stealing, fighting, intimidation of others, etc. This list is not exhaustive.);
         D.         [The class member] is an escape-risk; or
         E.         [The class member] must be held in a secure facility for his or her own
                    safety, such as when the INS has reason to believe that a smuggler would
                    abduct or coerce a particular minor to secure payment of smuggling fees.

 See id. at ¶ 21.

         Notwithstanding Paragraph 21’s placement criteria, newly published 45 C.F.R. section
 410.203(a)(5) permits the Office of Refugee Resettlement (“ORR”) to detain a class member in a
 secure facility solely on the ground that the agency has determined that he or she is “a danger to
 self or others.”12 See 84 Fed. Reg. at 44,531–32. Although section 410.203(d) insists that
         12
               The regulatory definition of “secure” facility is nearly identical to the type of facility governed by
 Paragraph 21. Compare 84 Fed. Reg. at 44,531 (“Secure facility means a State or county juvenile detention facility
 or a secure ORR detention facility, or a facility with an ORR contract or cooperative agreement having separate
 accommodations for minors. A secure facility . . . is not defined as a ‘licensed program’ or ‘shelter’ under this
 part.”), with Flores Agreement at ¶ 21 (“A minor may be held in or transferred to a suitable State or county juvenile
 detention facility or a secure INS detention facility, or INS-contracted facility, having separate accommodations for
 minors whenever the District Director or Chief Patrol Agent determines that the minor [meets one of the five
 criteria].”) [Doc. # 101].

 CV-90                                    CIVIL MINUTES—GENERAL                           Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 13 of 24 Page ID
                                #:33626


                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                     CIVIL MINUTES—GENERAL

 Case No.       CV 85-4544-DMG (AGRx)                                                 Date     September 27, 2019

 Title Jenny L. Flores, et al. v. William P. Barr, et al.                                             Page     13 of 24

 section 410.203(a)(5) “does not abrogate any requirements [of the William Wilberforce
 Trafficking Victims Protection Reauthorization Act (“TVPRA”)] to place [class members] in the
 least restrictive setting appropriate to their age and special needs[,]” see 84 Fed. Reg. at 44,532,
 the New Regulations’ embrace of the TVPRA standard does not indicate per se substantial
 compliance with the Agreement.13 As the Court has previously held, the TVPRA establishes
 what circumstances are “necessary for placement of a UAC in a secure facility, whereas
 Paragraph 21 delineates conditions that permit such detention.” Order re Pls.’ Mot. to Enforce at
 7 [Doc. # 470]. Defendants agreed to include five additional criteria in Paragraph 21 of the
 Flores Agreement, and excluding these criteria in the New Regulations marks a significant
 deviation from the Agreement’s substantive standards for placing class members in secure
 facilities.

         Additionally, Paragraph 24.A requires that “[a] minor in deportation proceedings . . . be
 afforded a bond redetermination hearing before an immigration judge in every case, unless the
 minor indicates on the Notice of Custody Determination form that he or she refuses such a
 hearing.” See Flores Agreement at ¶ 24.A [Doc. # 101]. The Ninth Circuit has observed that
 “[r]eview by a division of the DOJ of detention decisions made by other government agencies
 [(e.g., ORR)] is . . . a well-established feature of the [immigration] statutory framework[,]” and
 that the right to such review is guaranteed by Paragraph 24.A. See Flores v. Sessions, 862 F.3d
 at 877 & n.15 (emphasis added); see also id. at 867 (“The bond hearing under Paragraph 24A is a
 fundamental protection guaranteed to unaccompanied minors under the Flores Settlement.”).
 Nonetheless, newly published 45 C.F.R. section 410.810(a) would effectively abrogate this
 protection by requiring a class member to “request that an independent hearing officer employed
 by HHS determine, through a written decision, whether the [class member] would present a risk
 of danger to the community or risk of flight if released.” See 84 Fed. Reg. at 44,535 (emphasis
 added). Not only do the New Regulations transform the bond redetermination hearing into an
 opt-in rather than opt-out right, they also shift such determinations away from independent
 immigration judges. This section strips class members of a “fundamental protection.” Flores v.
 Sessions, 862 F.3d at 868; see id. at 879 (describing the “meaningful benefit” that bond hearings,


          13
             In addition to Paragraph 21’s criteria, Paragraph 23 provides that the agency “will not place a minor in a
 secure facility pursuant to Paragraph 21 if there are less restrictive alternatives that are available and appropriate in
 the circumstances, such as transfer to . . . a medium security facility . . . .” Flores Agreement at ¶ 21 [Doc. # 101].
 A “medium security facility” has “stricter security measures . . . than a facility operated by a licensed program in
 order to control problem behavior and to prevent escape.” Id.at ¶ 8. These facilities are less restrictive than the
 secure facilities identified in Paragraph 21. See id. (“[A medium security] facility may have a secure perimeter but
 shall not be equipped internally with major restraining construction or procedures typically associated with
 correctional facilities.”).


 CV-90                                     CIVIL MINUTES—GENERAL                             Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 14 of 24 Page ID
                                #:33627


                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES—GENERAL

 Case No.      CV 85-4544-DMG (AGRx)                                            Date     September 27, 2019

 Title Jenny L. Flores, et al. v. William P. Barr, et al.                                      Page     14 of 24

 as required under the Agreement, provide to unaccompanied minors”). Section 410.810(a) is
 thus inconsistent with a material substantive provision of the Flores Agreement.14

                  3.      The New Regulations’ Elimination of Certain Mandatory Protections
                          in the Flores Agreement

         Plaintiffs correctly point out that “many of the [Flores Agreement’s] core provisions use
 the verb ‘shall’ to posit a mandatory, non-discretionary obligation.” See Pls.’ Mot. to Enforce at
 25 [Doc. # 516]; see also Kingdomware Techs., Inc. v. United States, 136 S. Ct. 1969, 1977
 (2016) (“Unlike the word ‘may,’ which implies discretion, the word ‘shall’ usually connotes a
 requirement.”); Shall, Black’s Law Dictionary (11th ed. 2019) (“[Defined as:] [h]as a duty to;
 more broadly, is required to . . . This is the mandatory sense that drafters typically intend and
 that courts typically uphold. Only [this] sense . . . is acceptable under strict standards of
 drafting.”). The New Regulations replaced many of these protections with statements that
 merely describe the manner in which Defendants purportedly treat class members in their
 custody.

         For instance, the Agreement generally requires each class member who is not released to
 “be placed temporarily in a licensed program[,]” which “shall be non-secure as required under
 state law . . . .” See Flores Agreement at ¶¶ 6, 19 (emphasis added) [Doc. # 101]. Conversely,
 newly published 45 C.F.R. section 410.201(a) provides: “ORR places each [class member] in
 the least restrictive setting that is in the best interest of the child and appropriate to the [class
 member’s] age and special needs, provided that such setting is consistent with its interests to
 ensure the [class member’s] timely appearance before DHS and the immigration courts and to
 protect the [class member’s] well-being and that of others.” See 84 Fed. Reg. at 44,531. Further,
 whereas Paragraph 14 of the Agreement states that “the INS shall release a minor from its
          14
             DHS intends to diminish other class members’ rights to bond hearings as well. Revised 8 C.F.R.
 section 236.3(m) provides:

         Bond determinations made by DHS for minors who are in removal proceedings pursuant to
         section 240 of the Act and who are also in DHS custody may be reviewed by an immigration
         judge pursuant to 8 CFR part 1236 to the extent permitted by 8 CFR 1003.19. Minors in DHS
         custody who are not in section 240 proceedings are ineligible to seek review by an immigration
         judge of their DHS custody determinations.

 84 Fed. Reg. at 44,529 (emphasis added). DHS makes no effort to hide the fact that this revision is intended to
 prevent “[m]inors who are in expedited removal proceedings” from obtaining bond hearings. See 84 Fed. Reg. at
 44,394–95. Thus, this regulation is patently irreconcilable with Paragraph 24.A’s requirement that “[a] minor in
 deportation proceedings shall be afforded a bond redetermination hearing before an immigration judge in every
 case . . . .” See Flores Agreement at ¶ 24.A (emphasis added) [Doc. # 101].

 CV-90                                  CIVIL MINUTES—GENERAL                          Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 15 of 24 Page ID
                                #:33628


                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

 Case No.    CV 85-4544-DMG (AGRx)                                    Date     September 27, 2019

 Title Jenny L. Flores, et al. v. William P. Barr, et al.                            Page     15 of 24

 custody without unnecessary delay,” the New Regulations fail to use mandatory, non-
 discretionary language regarding release. Flores Agreement at ¶ 14 (emphasis added); see 84
 Fed. Reg. at 44,525 (providing that “[m]inors may be released” under certain circumstances
 under 8 C.F.R. section 212.5(b)) (emphasis added); 84 Fed. Reg. at 44,532 (providing that “ORR
 releases a[n unaccompanied alien child] to an approved sponsor without unnecessary delay”
 under 45 C.F.R. section 410.301) (emphasis added).

         Modifications of this sort are hardly inconsequential. The deletion of “shall” and the
 insertion of such descriptive language as in the aforementioned regulatory provisions strongly
 suggest that Defendants do not intend to be bound by the Flores Agreement’s substantive terms.
 Cf. Tin Cup, LLC v. U.S. Army Corps of Eng’rs, 904 F.3d 1068, 1074 (9th Cir. 2018) (“The
 Supreme Court has distinguished descriptive ‘will’ statements from mandatory ‘shall’
 statements. . . . ‘[S]hall’ connotes a mandatory obligation and ‘will’ connotes a description of
 what Congress expected to happen . . . .” (citation omitted) (citing Norton v. S. Utah Wilderness
 All., 542 U.S. 55, 69 (2004))). Given that the history of this case is replete with findings of
 Defendants’ non-compliance with the Agreement, precision in the regulatory language
 purporting to terminate the Agreement is that much more important. See Rouser v. White, 825
 F.3d 1076, 1081 (9th Cir. 2016) (before terminating a consent decree, a court must consider the
 “general goals” of the decree as well as the defendants’ “record of compliance”).

       Accordingly, these aspects of the New Regulations fail to implement the Flores
 Agreement, and are not consistent with its terms.

                4.     Promulgation under the APA

         Lastly, though the Flores Agreement provided that a rule promulgated according to the
 APA could terminate the Agreement, the New Regulations—which presumably satisfy APA
 procedural requirements—do not automatically terminate the Agreement. Defendants’ argument
 to the contrary reads out portions of Paragraph 9 (“the final regulations shall not be inconsistent
 with the terms of this Agreement”) and Paragraph 40 of the Agreement (providing a termination
 date of “45 days following defendants’ publication of final regulations implementing this
 Agreement”). Dec. 7, 2001 Stipulation at 71 (emphasis added) (alterations omitted) [Doc.
 # 516]; see Defs.’ Mot. to Terminate at 48 [Doc. # 639].

         As the Court stated in a prior order enforcing the terms of the Agreement, “[c]ourts must
 interpret contractual language in a manner that gives force and effect to every provision, and not
 in a way that renders some clauses nugatory, inoperative or meaningless.” Order re Pls.’ Mot. to
 Enforce (citation omitted) [Doc. # 177]. Therefore, as agreed upon by the parties in the

 CV-90                             CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 16 of 24 Page ID
                                #:33629


                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

 Case No.    CV 85-4544-DMG (AGRx)                                     Date     September 27, 2019

 Title Jenny L. Flores, et al. v. William P. Barr, et al.                             Page     16 of 24

 Agreement and the 2001 Stipulation, it is necessary, but not sufficient, for the New Regulations
 to follow APA rulemaking procedures. The New Regulations must also satisfy Paragraphs 9 and
 40, and as discussed supra, they do not.

          Furthermore, because Plaintiffs do not bring a challenge to the New Regulations under
 the APA, the Court need not consider specific arguments regarding whether the New Regulations
 were promulgated according to APA procedure or are “arbitrary [or] capricious,” “contrary to
 constitutional right,” “in excess of statutory . . . authority,” or “unsupported by substantial
 evidence.” 5 U.S.C. §§ 706(A), (E); see, e.g., Henderson v. Morrone, 214 F. App’x 209, 213 (3d
 Cir. 2007) (finding, without applying APA analysis, that where promulgated regulations did not
 fulfill two enumerated conditions of a consent decree, the consent decree still governs); Ferrell v.
 Pierce, 560 F. Supp. 1344, 1348, 1371–72 (N.D. Ill. 1983), aff’d, 743 F.2d 454 (enjoining,
 without assessing the proposed regulation under the APA, a federal agency from implementing
 proposed regulations that violated a consent decree because they “would eliminate all restrictions
 on the level of assistance that [the agency] was required to provide.”).

         Nor is enforcing the Flores Agreement an impermissible infringement on DHS and HHS
 discretion. Defendants argue that applying a non-APA standard to review the New Regulations
 would “create additional procedures for rulemaking in violation of Vermont Yankee Nuclear
 Power Corp. v. Natural Resources Defense Council, Inc., 435 U.S. 519 (1978).” Defs.’ Mot. to
 Terminate at 27. But the Court has not created “additional procedures” by enforcing an
 agreement into which Defendants willingly entered and agreed to be bound. “Since the solution
 arrived at [in the Flores Agreement] was to a considerable extent the work of the Agency itself,
 and since the district court’s role was confined to approving the fairness of the consent decree
 which incorporates it . . . , Vermont Yankee’s concern for ‘judicially-conceived notions of
 administrative fair play’ is inapposite here.” Citizens for a Better Env’t v. Gorsuch, 718 F.2d
 1117, 1128 (D.C. Cir. 1983). Moreover, any dissatisfaction with the Flores Agreement’s
 approach to the detention and treatment of minors can be overridden by the legislative branch.
 This Court cannot abrogate the consent decree, however, by judicial fiat.

                                               * * *

         The Flores Agreement contemplates the promulgation of regulations codifying “the
 relevant and substantive terms of th[e] Agreement as a Service regulation” and specifically
 prohibits Defendants from issuing regulations that are “inconsistent with the terms of th[e]
 Agreement.” See Flores Agreement at ¶ 9 (emphasis added) [Doc. # 101]. As modified by the
 parties’ stipulation, the Flores Agreement terminates only upon “defendants’ publication of final
 regulations implementing this Agreement[.]” See Dec. 7, 2001 Stipulation at 71 (emphasis

 CV-90                              CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 17 of 24 Page ID
                                #:33630


                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

 Case No.    CV 85-4544-DMG (AGRx)                                   Date     September 27, 2019

 Title Jenny L. Flores, et al. v. William P. Barr, et al.                           Page     17 of 24

 added) (alterations omitted) [Doc. # 516]. When these provisions are read together, it becomes
 apparent that only final regulations that “implement[]” the Flores Agreement, incorporate “the
 relevant and substantive terms,” and are consistent with the terms thereof may formally terminate
 this consent decree. See Kennewick Irrigation Dist. v. United States, 880 F.2d 1018, 1032 (9th
 Cir. 1989) (“A written contract must be read as a whole and every part interpreted with reference
 to the whole.” (quoting Shakey’s Inc. v. Covalt, 704 F.2d 426, 434 (9th Cir. 1983))). The New
 Regulations are a condition subsequent that not only do not implement the Flores Agreement,
 they intentionally subvert it. Since “[c]onditions subsequent are not favored by the law, and are
 construed strictly,” and the New Regulations do not codify numerous relevant and substantive
 terms of the Flores Agreement, the Flores Agreement remains fully intact. See 17A C.J.S.
 Contracts § 451 (2019) (“A condition subsequent is a condition that, if performed or violated, as
 the case may be, defeats the contract . . . .”) (footnotes omitted); Part III.A.1–3 (detailing
 numerous material inconsistencies between the New Regulations and the Flores Agreement).

         Before ruling on Plaintiffs’ Motion to Enforce, however, the Court assesses Defendants’
 alternative arguments for terminating the Agreement.

 B.      Defendants’ Motion to Terminate

          Defendants move to terminate the Agreement under Federal Rules of Civil Procedure
 60(b)(5) and 60(b)(6), which permit a party to be relieved from “a final judgment, order, or
 proceeding [if] applying it prospectively is no longer equitable,” or for “any other reason that
 justifies relief.” Fed. R. Civ. P. 60(b)(5), (6). Specifically, Defendants assert that: (1) the
 Homeland Security Act (“HSA”) gives Defendants the authority to terminate the agreement; and
 (2) the public interest demands termination based on the promulgation of final regulations,
 changes of fact and law, and defects in the Flores class. Defendants bear the burden of proving
 that they have met any Rule 60(b) requirement. See Rufo v. Inmates of Suffolk Cnty. Jail, 502
 U.S. 367, 383 (1992).

                1.     Authority to Terminate under the HSA

        Defendants selectively quote the savings provision of the HSA to argue that “Congress
 expressly authorized [the Agreement] to be ‘amended, modified, terminated . . . or revoked . . .
 by an officer of the United States.” Defs.’ Mot. to Terminate at 54 (quoting 6 U.S.C. § 552(a)).
 Section 552(a) in fact provides that the Agreement may be “amended, modified, terminated, . . .
 or revoked in accordance with law by an officer of the United States.” 6 U.S.C. § 552(a)
 (emphasis added). “The government recognizes that the HSA savings clause . . . maintained the
 Agreement in effect as a consent decree.” Flores v. Sessions, 862 F.3d at 871 n.7. A consent

 CV-90                             CIVIL MINUTES—GENERAL                    Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 18 of 24 Page ID
                                #:33631


                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

 Case No.    CV 85-4544-DMG (AGRx)                                    Date     September 27, 2019

 Title Jenny L. Flores, et al. v. William P. Barr, et al.                            Page     18 of 24

 decree imposes legal obligations upon a party to that decree. See Local No. 93, Int’l Ass’n of
 Firefighters, AFL-CIO C.L.C. v. City of Cleveland, 478 U.S. 501, 523 (1986). Because
 termination of the Agreement must be “in accordance with law”—in other words, in accordance
 with the contractual terms of the Agreement itself—the “government remains bound by its
 bargain in the Flores Settlement” and cannot unilaterally terminate the settlement. Flores v.
 Sessions, 862 F.3d at 879.

                2.     Termination in the Public Interest

        Defendants also fail to carry their burden to show that continued application of the
 Agreement is neither equitable nor in the public interest due to “a significant change in
 circumstances.” Flores v. Lynch, 828 F.3d 898, 909 (9th Cir. 2016) (quoting Rufo, 502 U.S. at
 383).

         As the Ninth Circuit articulated, “[w]hen the basis for modification is a change in law,
 the moving party must establish that the provision it seeks to modify has become
 ‘impermissible.’” Id. at 909–10 (quoting Rufo, 502 U.S. at 383) (emphasis added). In order to
 prevail, Defendants must show that, due to a change in law, their compliance with the law
 “would directly conflict with the Flores Agreement and convert it into an “instrument of
 wrong.” Flores v. Sessions, 862 F.3d at 874 (quoting Sys. Fed. No. 91 Ry. Emps. Dep’t v.
 Wright, 364 U.S. 642, 647 (1961) (emphasis added); cf. City of Duluth v. Fond du Lac Band of
 Lake Superior Chippewa, 702 F.3d 1147, 1153–54 (8th Cir. 2013) (modifying a consent decree
 when a change in relevant law made “illegal what the earlier consent decree was designed to
 enforce”).

         Defendants assert that the promulgation of the New Regulations renders termination of
 the Flores Agreement in the public interest. See Defs.’ Mot. at 66. Defendants exhort the Court
 to focus on “whether, as a result of the important changes during the intervening years,
 [Defendant] was fulfilling its obligations under the [Agreement] by other means.” Defs.’ Mot. at
 56 (quoting Horne v. Flores, 577 U.S. 433, 439 (2009)) (alterations added). A “critical question
 in this Rule 60(b)(5) inquiry is whether the objective of the [Agreement] has been achieved. If a
 durable remedy has been implemented, continued enforcement of the order is not only
 unnecessary, but improper.” Horne, 577 U.S. at 450 (internal citation omitted).

         For the reasons discussed supra, the Court cannot find that Defendants have fulfilled their
 obligations under the Agreement via the New Regulations or that the objective of the Agreement
 has been achieved. Given the myriad relevant and substantive differences between the
 Agreement and the New Regulations’ requirements, Defendants have “substantially

 CV-90                             CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 19 of 24 Page ID
                                #:33632


                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

 Case No.    CV 85-4544-DMG (AGRx)                                     Date     September 27, 2019

 Title Jenny L. Flores, et al. v. William P. Barr, et al.                             Page     19 of 24

 . . . defeat[ed] the object which the parties intend to accomplish,” not substantially complied.
 Jeff D., 643 F.3d at 283–84 (quoting Wells Benz, 333 F.2d at 92). The New Regulations’
 deficiencies and other ongoing litigation in this case, more than 20 years after the Agreement
 was executed, evidence Defendants’ lack of substantial compliance.

         Defendants’ remaining arguments regarding changes in law and fact constitute yet
 another in a long line of not so thinly-veiled motions for reconsideration of prior Orders rejecting
 similar arguments. See also Order re Response to Order to Show Cause at 2 [Doc. # 189]; Order
 Denying Defs.’ Ex Parte Application at 1–2 [Doc. # 455].

         The argument that the TVPRA and HSA grant HHS an exclusive custodial role over
 unaccompanied minors is no more availing now than in its prior iterations. See Flores v.
 Sessions, 862 F.3d at 876 (“The HSA and TVPRA contain no indication that they are intended to
 encompass the entire immigration framework for unaccompanied minors, or to shift all related
 responsibilities to ORR.”). The Ninth Circuit and this Court have repeatedly made it clear that
 the HSA and the TVPRA do not supersede the Flores Agreement. See, e.g., Flores v. Sessions,
 862 F.3d at 881 (“[W]e hold that the statutes have not terminated the Flores Settlement’s bond-
 hearing requirement for unaccompanied minors.”); Flores v. Lynch, 828 F.3d at 910 (“[T]here is
 no reason why that bureaucratic reorganization should prohibit the government from adhering to
 the Settlement.); Order re Mot. to Enforce at 9 (“[T]he Court concludes that the TVPRA did not
 supersede the placement and suitability provisions of the Flores Agreement because the two can
 be easily reconciled and Congress did not explicitly abrogate Class Members’ rights under the
 Agreement.”) [Doc. # 470].

         Regarding changed factual circumstances, as the Court has previously noted, “[i]n the
 absence of a showing of changed circumstances that the parties could not have foreseen at the
 time of their Agreement, it is unnecessary to replow the same familiar territory.” Order Denying
 Defs.’ Ex Parte Application at 2 (citing Rufo, 502 U.S. at 383 (“Ordinarily, . . . modification
 should not be granted where a party relies upon events that actually were anticipated at the time
 it entered into a decree. . . . [A] party seeking modification of a consent decree [under Rule
 60(b)(5)] bears the burden of establishing that a significant change in circumstances warrants
 revision of the decree.”); United States v. Alpine Land & Reservoir Co., 984 F.2d 1047, 1049
 (9th Cir. 1993) (“[Rule 60(b)(6)] is to be utilized only where extraordinary circumstances
 prevented a party from taking timely action to prevent or correct an erroneous judgment.”))
 [Doc. # 455]; see Reno v. Flores, 507 U.S. at 295 ( “The parties to the present suit agree that the
 [INS] must assure itself that someone will care for those minors pending resolution of their
 deportation proceedings. That is easily done when the juvenile’s parents have also been
 detained and the family can be released together.”) (emphasis added); Flores v. Lynch, 828 F.3d

 CV-90                              CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 20 of 24 Page ID
                                #:33633


                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

 Case No.    CV 85-4544-DMG (AGRx)                                    Date     September 27, 2019

 Title Jenny L. Flores, et al. v. William P. Barr, et al.                            Page     20 of 24

 at 910 (“The Settlement expressly anticipated an influx, and provided that, if one occurred, the
 government would be given more time to release minors or place them in licensed programs.”)
 (citing Settlement at ¶ 12); id. at 906–07 (“[T]here is no reason why [the Agreement’s]
 requirements should be any less applicable in a family detention context than in the context of
 unaccompanied minors.”).

          Furthermore, Defendants continue to rely on “dubious” and “unconvincing” logic and
 statistics to support their changed-circumstances argument. Order Denying Defs.’ Ex Parte
 Application at 2–3 [Doc. # 455]; Order re Pls.’ Mot. to Enforce at 11 [Doc. # 177]; see Defs.’
 Mot. to Terminate at 67. The Court declines to reiterate yet again why an increase in numbers of
 families detained at the southern border does not justify, much less require, dissolution of the
 parties’ bargained-for agreement to “treat[] all minors in [Defendants’] custody with dignity,
 respect, and special concern for their particular vulnerability as minors.” Flores Agreement ¶ 11.

         Finally, Defendants argue that the Flores class no longer satisfies Rule 23(a), thereby
 requiring termination of the Agreement in the public interest. Defs.’ Mot. at 68. But “the
 government waived its ability to challenge the class certification when it settled the case and did
 not timely appeal the final judgment.” Flores v. Lynch, 828 F.3d at 908. Plaintiffs convincingly
 respond that at least one “single common issue of law or fact,” the question of whether the
 New Regulations terminate the Flores Agreement, satisfies Rule 23(a)(2) for the purposes of the
 motions at issue. See Pls.’ Opp. at 31–32 [Doc. # 668]. Defendants have not met their burden to
 show changed circumstances sufficient to merit reconsideration of class certification or for this
 argument to weigh towards terminating the Agreement in the public interest.

         Courts take a “flexible approach” to modifying consent decrees to “ensure that
 responsibility for discharging the State’s obligations is returned promptly to the State and its
 officials when the circumstances warrant.” Horne, 577 U.S. at 448 (emphasis added) (internal
 quotations and citations omitted). But here, the Agreement is “largely the work of [the
 Government] and the other parties to these suits, not the district court; manifestly, the
 requirements imposed by the Decree do not represent judicial intrusion into the Agency’s affairs
 to the same extent they would if the Decree were ‘a creature of judicial cloth.’” Citizens for a
 Better Env’t, 718 F.2d at 1127–28. Given the parties’ bargained-for positions in the Agreement,
 the New Regulations’ failure to implement the Agreement, and Defendants’ repeatedly
 unavailing arguments about changes in law and fact, the termination of the Agreement and
 removal of critical protections promised to minors in DHS and HHS custody are not in the public
 interest.

                                                   * * *

 CV-90                             CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 21 of 24 Page ID
                                #:33634


                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES—GENERAL

 Case No.       CV 85-4544-DMG (AGRx)                                              Date     September 27, 2019

 Title Jenny L. Flores, et al. v. William P. Barr, et al.                                          Page     21 of 24

        The Court agrees with Defendants that a district court should not be “doomed to some
 Sisyphean fate, bound forever to enforce and interpret a preexisting decree without occasionally
 pausing to question whether changing circumstances have rendered the decree unnecessary,
 outmoded, or even harmful to the public interest.” Defs.’ Mot. to Terminate at 56–57 (quoting In
 re Pearson, 990 F.2d 653, 658 (1st Cir. 1993)). And the Court is not unsympathetic to the
 challenges that DHS and HHS employees face in executing our country’s immigration policies.

         But the evidentiary record before this Court overwhelmingly shows that throughout
 several presidential administrations, the Agreement has been necessary, relevant, and critical to
 the public interest in maintaining standards for the detention and release of minors arriving at the
 United States’ borders. Defendants willingly negotiated and bound themselves to these
 standards for all minors in its custody, and no final regulations or changed circumstances yet
 merit termination of the Flores Agreement. Defendants’ Motion to Terminate is therefore
 DENIED.

 C.      Appropriate Relief15

        Although Defendants failed to terminate the Flores Agreement, the Court must still
 determine whether—and, if so, to what extent—the Court may enjoin them from implementing
 the New Regulations.

         As a consent decree, the Flores Agreement itself is an injunction. See Gates v. Shinn, 98
 F.3d 463, 468 (9th Cir. 1996) (“The consent decree is an injunction.”); see also Healey v.
 Spencer, 765 F.3d 65, 75 (1st Cir. 2014) (“A consent decree is both a settlement and an
 injunction.”). Because the Agreement remains in effect, the Court retains authority to enforce its
 terms. See Flores Agreement ¶ 37 (“This paragraph provides for the enforcement, in this District
 Court, of the provisions of this Agreement . . . .”). Paragraph 9 of the Agreement requires
 Defendants to “publish the relevant and substantive terms of this Agreement as a[n INS]
 regulation” and states—in mandatory language—that “[t]he final regulations shall not be


         15
             Defendants make a passing argument that Plaintiffs do not ask for the same relief in their Motion to
 Enforce regarding Defendants’ Proposed Regulations [Doc. # 516] as that requested in their Supplemental
 Memorandum regarding Defendants’ New Regulations [Doc. # 634]. See Defs.’ Reply at 8 [Doc. # 682]. The Court
 finds that Plaintiffs have consistently sought a declaration that Defendants’ Proposed and New Regulations are
 inconsistent with the Agreement and requested enforcement of the Agreement. See Pls.’ Proposed Order at 4 [Doc.
 # 516-1]; Pls.’ Proposed Order at 4 [Doc. # 634-2]. In their opening brief, Plaintiffs sought an injunction under the
 All Writs Act, 28 U.S.C. section 1651, against the Proposed Regulations or their “material equivalent.” [Doc. #
 516-1.] Defendants are therefore on notice as to the nature of the requested relief.


 CV-90                                    CIVIL MINUTES—GENERAL                           Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 22 of 24 Page ID
                                #:33635


                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES—GENERAL

 Case No.       CV 85-4544-DMG (AGRx)                                              Date     September 27, 2019

 Title Jenny L. Flores, et al. v. William P. Barr, et al.                                          Page     22 of 24

 inconsistent with the terms of this Agreement.” Id. at ¶ 9. The Agreement, by its own terms,
 therefore enjoins implementation of the inconsistent New Regulations.

         Moreover, the All Writs Act, 28 U.S.C. section 1651, authorizes the Court “to issue such
 commands . . . as may be necessary or appropriate to effectuate and prevent the frustration of
 orders it has previously issued in its exercise of jurisdiction otherwise obtained.” United States
 v. New York Tel. Co., 434 U.S. 159, 172 (1977). “Powers under [the Act] should be broadly
 construed,” Hamilton v. Nakai, 453 F.2d 152, 157 (9th Cir. 1971), and a “consent judgment [is] a
 sufficient basis for invoking the All Writs Act,” United States v. City of Detroit, 329 F.3d 515,
 523 (6th Cir. 2003).16 Here, the Court finds that to effectuate its orders enforcing the Flores
 Agreement and “to protect the settlement agreement,” an injunction against the Final Regulations
 as a whole is warranted. Sandpiper Vill. Condo. Ass’n., Inc. v. Louisiana-Pac. Corp., 428 F.3d
 831, 841 (9th Cir. 2005).

         Defendants’ attempt to sever the Final Regulations into valid and invalid portions is
 unavailing. Aware of the substantial probability that the New Regulations would be declared
 invalid by this Court, Defendants elected to include the following pro forma severability clause
 in the preamble to the final rule:

         To the extent that any portion of this final rule is declared invalid by a court, the
         Departments [of Homeland Security and Health and Human Services] intend for
         all other parts of the final rule that are capable of operating in the absence of the
         specific portion that has been invalidated to remain in effect. Thus, even if a
         court decision invalidating a portion of this final rule results in a partial reversion
         to the current regulations or to the statutory language itself, the Departments
         intend that the result of the final rule continue to operate, if at all possible in
         tandem with the reverted provisions.

 See 84 Fed. Reg. at 44,408. But this “severability clause is an aid merely; not an inexorable
 command.” See Whole Women’s Health v. Hellerstedt, 136 S. Ct. 2292, 2319 (2016) (internal

         16
             The Ninth Circuit does not appear to require courts to examine the traditional requirements for obtaining
 injunctive relief in order to issue such relief under the All Writs Act. See, e.g., California v. M&P Investments, 46
 F. App’x 876, 878 (9th Cir. 2002) (upholding stay entered under All Writs Act that enjoined enforcement of a
 municipal regulation that contravened the court’s jurisdiction); see also Klay v. United Healthgroup, Inc., 376 F.3d
 1092, 1100 (11th Cir. 2004) (“[W]hile a party must ‘state a claim’ to obtain a ‘traditional’ injunction, there is no
 such requirement to obtain an All Writs Act injunction—it must simply point to some ongoing proceeding, or some
 past order or judgment, the integrity of which is being threatened by someone else's action or behavior.”). But see
 In re Jimmy John’s Overtime Litig., 877 F.3d 756, 770 n.11 (7th Cir. 2017) (applying traditional equitable factors to
 an injunction entered under the All Writs Act and describing the circuit split on the issue).

 CV-90                                    CIVIL MINUTES—GENERAL                           Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 23 of 24 Page ID
                                #:33636


                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

 Case No.    CV 85-4544-DMG (AGRx)                                     Date     September 27, 2019

 Title Jenny L. Flores, et al. v. William P. Barr, et al.                             Page     23 of 24

 quotation marks omitted) (quoting Reno v. Am. Civil Liberties Union, 521 U.S. 844, 884–85 n.49
 (1997)). “Whether the offending portion of a regulation is severable depends upon the intent of
 the agency and upon whether the remainder of the regulation could function sensibly without the
 stricken provision.” MD/DC/DE Broadcasters Ass’n v. FCC, 236 F.3d 13, 22 (D.C. Cir. 2001)
 (citing K-Mart Corp. v. Cartier, Inc., 486 U.S. 281, 294 (1988)).

         Based on Defendants’ stated intent in implementing the New Regulations, the “offending
 portion[s]” of the New Regulations cannot be severed from the whole. Id. For one, the New
 Regulations have utterly failed to achieve their “principal purpose of . . . terminating the [Flores
 Agreement].” 84 Fed. Reg. at 44,407; see supra, Part II.B.2.         Moreover, in addition to the
 discrepancies already discussed herein, Plaintiffs provide a non-exhaustive list of 26 areas in
 which the New Regulations materially differ from the provisions of the Agreement, including
 their respective protections for special needs minors, criteria for suitability assessments for
 potential custodians, and data collection for monitoring Defendants’ supposed compliance with
 the protections at issue. See Pls.’ Supplemental Mem., Ex. A at 28–46 [Doc. # 634]. Finally,
 despite the Ninth Circuit’s conclusion that “the Settlement unambiguously applies both to
 accompanied and unaccompanied minors,” Flores v. Lynch, 828 F.3d at 901, the New
 Regulations insist that the Agreement does not govern the treatment of accompanied minors. See
 84 Fed. Reg. at 44,393.

         A court may not sever part of a final rule if doing so would “undercut the whole structure
 of the rule”—e.g., by “severely distort[ing] the . . . program” at issue and “produc[ing] a rule
 strikingly different from any the [agency] has ever considered or promulgated.” See
 MD/DC/DE, 236 F.3d at 22–23; cf. Hellerstedt, 136 S. Ct. at 2319 (“A severability clause is not
 grounds for a court to ‘devise a judicial remedy that . . . entail[s] quintessentially legislative
 work.’” (quoting Ayotte v. Planned Parenthood of N. New Eng., 546 U.S. 320, 329 (2006))).
 DHS’s and HHS’s inability to achieve a principal objective of the New Regulations (i.e.,
 termination of the Flores Agreement), their failure to validly effect “key” regulatory changes,
 and their publication of rules that are inconsistent with material clauses of the Flores Agreement
 collectively demonstrate that if any aspect of the New Regulations survives Plaintiffs’
 challenges, those provisions would be “strikingly different from any” the Departments had
 considered or promulgated. See MD/DC/DE, 236 F.3d at 23. It would be untenable to require
 DHS and HHS employees to parse through pieces of regulations disembodied from their
 animating purpose. Therefore, pursuant to the Flores Agreement’s terms and the Court’s
 authority under the All Writs Act to achieve “the rational ends of law,” this Court enjoins
 Defendants from implementing any and all provisions of the New Regulations. See New York
 Tel., 434 U.S. at 172 (citations and internal quotation marks omitted). Plaintiffs’ Motion to


 CV-90                              CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
Case 2:85-cv-04544-DMG-AGR Document 688 Filed 09/27/19 Page 24 of 24 Page ID
                                #:33637


                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES—GENERAL

 Case No.       CV 85-4544-DMG (AGRx)                                              Date     September 27, 2019

 Title Jenny L. Flores, et al. v. William P. Barr, et al.                                          Page     24 of 24

 Enforce the Flores Agreement and request to enjoin enforcement of the New Regulations is
 therefore GRANTED.

                                                     V.
                                                 CONCLUSION

         The blessing or the curse – depending on one’s vantage point – of a binding contract is its
 certitude. The Flores Agreement is a binding contract and a consent decree. It is a final, binding
 judgment that was never appealed. It is a creature of the parties’ own contractual agreements
 and is analyzed as a contract for purposes of enforcement. Defendants cannot simply ignore the
 dictates of the consent decree merely because they no longer agree with its approach as a matter
 of policy. The proper procedure for seeking relief from a consent decree is a Rule 60(b) motion
 by which a party must demonstrate that a change in law or facts renders compliance either
 illegal, impossible, or inequitable. Relief may also come from a change in law through
 Congressional action. Having failed to obtain such relief, Defendants cannot simply impose
 their will by promulgating regulations that abrogate the consent decree’s most basic tenets. That
 violates the rule of law. And that this Court cannot permit.

        Based on the foregoing, the Court DENIES Defendants’ Motion to Terminate and
 GRANTS Plaintiffs’ Motion to Enforce insofar as it seeks an Order declaring that Defendants
 have failed to terminate the Flores Agreement and enjoining Defendants from implementing the
 New Regulations.17 The Court therefore will issue a Permanent Injunction consistent with this
 Order.

 IT IS SO ORDERED.




         17
            At the hearing, Defendants suggested that there are aspects of the New Regulations that are not covered
 by the Flores Agreement at all. If that is true, that was not made apparent to the Court by the parties’ briefing. To
 the extent Defendants wish to identify those portions of the New Regulations that they want to preserve that are not
 covered by the Court’s Orders or the Flores Agreement, they must meet and confer with Plaintiffs and notify the
 Court by no later than October 4, 2019, if the parties agree to carve out any such provisions from the scope of this
 Order and the Permanent Injunction. Thereafter, the Court will consider appropriate amendments to the Order and
 Permanent Injunction.

 CV-90                                    CIVIL MINUTES—GENERAL                           Initials of Deputy Clerk KT
